      Case: 1:24-cv-01050 Document #: 36 Filed: 03/22/24 Page 1 of 3 PageID #:1394




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 JUMALI KATANI,

         Plaintiff,                                          Case No.: 1:24-cv-01050

 v.                                                          Judge Jeremy C. Daniel

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Jeffrey T. Gilbert
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                       DEFENDANT
                116                                           kaka.big
                117                                      specialwill.2018
                118                                       sellcentre2009
                119                                        specialsell4u
                120                                       macrosale2016
                107                                          top_us59
                  8                                           Abandi
                 15                                       Azuki-Fashion
                 36                                        YUANstore
                 20                                          HYQPAI
                 37                                         MSGBLAI
                 19                                         XIZAONG
                 21                                  jingxishangmaoyouxian
                 49                                      JELLYPENOYS
                111                                        jt-homeware
                112                                       easybuy-outlet
                179                                            zgtank
                 18                                      SSPDMBCURT
                 10                                          JUBOPE
                 34                                        LovelyouUS


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   Case: 1:24-cv-01050 Document #: 36 Filed: 03/22/24 Page 2 of 3 PageID #:1395




             80                                   lilia_3329
             81                                      zhtata
             82                                    Rory160
             83                                    whs6671
             84                                      tiqi60
             86                                      contea
             87                                   zhon_4742
             88                                   lvllan1989
             89                                     ziqiu62
             90                                    yyy5640
             93                                    guhu-89
             94                                    kkuyedd
             82                                    Rory160
             85                                  Summer2020
             91                                     fas20xx
             92                                 September160
             74                                   EOPUING
             69                               GWAABD Clothing
              5                                     Qinodel
            129                             chenguangming8946541
             42                                      Evava


DATED: March 22, 2024                         Respectfully submitted,

                                              /s/ Keith A. Vogt
                                              Keith A. Vogt (Bar No. 6207971)
                                              Keith Vogt, Ltd.
                                              33 W. Jackson Blvd., #2W
                                              Chicago, Illinois 60604
                                              Telephone:312-971-6752
                                              E-mail: keith@vogtip.com

                                              ATTORNEY FOR PLAINTIFF




                                        2
    Case: 1:24-cv-01050 Document #: 36 Filed: 03/22/24 Page 3 of 3 PageID #:1396




                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 22, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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